                 Case 2:08-cr-00577-KJM Document 53 Filed 02/15/11 Page 1 of 2


 1   DONALD M. RÉ, SBN 49079
     A Professional Law Corporation
 2
     One Wilshire Building
 3   624 S. Grand Avenue, 22nd Floor
     Los Angeles, California 90017
 4   Telephone: (213) 623-4234
     Email: donaldmreplc@yahoo.com
 5
 6   Attorney for Defendant
     ANIL MALHI
 7
 8                                      UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            )      CASE NO. 2:08-cr-00577-KJM
                                                          )
12                         Plaintiff,                     )      STIPULATION AND ORDER
13                                                        )      CONTINUING STATUS
            v.                                            )      CONFERENCE
14                                                        )
     ANIL MALHI, et al.,                                  )      Proposed Date: March 24, 2011
15                                                        )      Time:          10:00 a.m.
                           Defendant.                     )      Court:         Courtroom 3
16
                                                          )
17
            IT IS HEREBY stipulated between the United States of America, through its undersigned counsel,
18
     Assistant United States Attorney R. Steven Lapham and Special Assistant U.S. Attorney Peter Williams,
19
20   and defendants Salam S. Kalasho and Pisces International, Inc., through their undersigned counsel Gregory

21   A. Vega, and defendant Anil Malhi, through his undersigned counsel Donald M. Ré, that the status
22   conference presently set for February 17, 2011, at 10:00 a.m., may be continued to March 24, 2011 at
23
     10:00 a.m., thus vacating the presently set status conference.
24
            All parties believe that plea agreements will be finalized within this time, and that the appearance
25
     on March 24, 2011 will be for the purpose of entry of plea, pursuant to those agreements.
26
27          The parties stipulate that the ends of justice are served by the court excluding such time, so that

28   counsel for defendants may have reasonable time necessary for effective preparation, taking into account

                                                         1
               Case 2:08-cr-00577-KJM Document 53 Filed 02/15/11 Page 2 of 2


 1   the exercise of due diligence. 18 U.S.C. §3161 (h)(8)(B)(iv).
 2
            The parties stipulate and agree that the interests of justice served by granting this continuance
 3
     outweigh the best interests of the public and the defendants in a speedy trial. 18 U.S.C. §3161 (H)(8)(a).
 4
            IT IS SO STIPULATED.
 5
 6   Dated: February 15, 2011                     /s/ Donald M. Ré
                                                  Donald M. Ré
 7                                                Attorney for Defendant Anil Malhi

 8
 9
     Dated: February 15, 2011                     /s/ Gregory A. Vega
10                                                Gregory A. Vega
                                                  Attorney for Defendant Salam Kalasho
11                                                and Pisces International, Inc.
12
13
     Dated: February 15, 2011                     /s/ R. Steven Lapham
14                                                R. Steven Lapham
                                                  Assistant U.S. Attorney
15
16
17   Dated: February 15, 2011                     /s/ Peter Williams
                                                  Peter Williams
18                                                Special Assistant U.S. Attorney
19
20
21                                                   ORDER
22
23   IT IS SO ORDERED.

24   DATED: February 15, 2011.

25
26                                                 UNITED STATES DISTRICT JUDGE
27
28

                                                         2
